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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Newport News Division

UNITED STATES OF AMERICA
v.
ANTHONY ACKLIN,

Defendant.

ORDER

 

 

FILED
IN OPEN COURT

 

JAN 4 4 2024

 

 

 

CLERK. U.S. DISTRICT COURT
NORFOLK. VA

Criminal No. 4:17cr52

This matter comes before the Court following a guilty plea proceeding conducted by

Magistrate Judge Doulas Miller. At the conclusion of the plea hearing, Judge Miller issued a

Report and Recommendation (“R&R”) indicating that this Court should accept Defendant’s Guilty

Plea, because such plea was knowledgeable and voluntary and because the offense charged is

supported by an independent basis in fact. ECF No. 699. The period of time to file objections to

the R&R has expired and no objections have been received. The undersigned judge hereby

ADOPTS the recommendation of the Magistrate Judge, and accepts Defendant’s guilty plea

subject to this Court’s independent determination as to whether to accept the terms of the parties’

binding Rule 11(c)(1)(C) written plea agreement. If the Court ultimately decides not to accept

the plea agreement, the Defendant will be given the opportunity to withdraw his guilty plea.

IT IS SO ORDERED.

/s/

Mark S. Davis
CHIEF UNITED STATES DISTRICT JUDGE

Norfolk, Virginia
January (| , 2021

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